                                                        22CVDC-00115                                              Filed for Record at
            Case 4:23-cv-00675-Y Document 1-13 Filed 06/29/23                    Page 1 of 2     PageID 57 6/1/2023          4:49 PM
                                                                                                                   Susan Culpepper
                                                                                                    Clerk of the 266th District Court
                                                                                                               Erath County, Texas
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Sent:                                 Thursday, June 1, 2023 4:18 PM
To:                                   Candy Perry
Cc:                                   dfielding@fieldingpc.com; Karen Walters
Subject:                              RE: June 12 Hearing Ubbenga v. TSU; Cause No. 2CVDC-00115
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Ms. Perry,

I have spoken with Mr. Fielding, and since he has amended his petition, my Plea is moot. We would like
to pass the hearing on the 12th, if possible.

Best,
Zac Rhines
Assistant Attorney General
General Litigation Division
300 West 15th Street, 6th Floor, Austin, Texas 78701
P.O. Box 12548, Austin, 'IX 787112548
(512) 463-9911 Fax: (512) 3020667
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         KEN PAXTON
 ATIORNEY (iENERAli O]; TEXAS


From: Candy Perry <districtcourt@co.erath.tx.us>
Sent: Thursday, May 25, 2023 3:11 PM
To: Zachary Rhines <Zachary.Rhines@oag.texas.gov>
Cc: dfielding@fieldingpc.com; Karen Walters <Karen.WaIters@oag.texas.gov>
Subject: RE: June 12 Hearing Ubbenga v. TSU; Cause No. 2CVDC-00115
                                  |




Normally all hearings are in person, but will talk with Judge Cashon when he is back in the office.
                                             I




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Associated Case Party: Jonathan Ubbenga

Name             BarNumber   Email                   TimestampSubmitted Status

David Fielding   6974500     dfielding@fieldingpc.com 6/1/2023 4:49:57 PM   SENT



Associated Case Party: Tarleton State University

Name               BarNumber Email                            TimestampSubmitted   Status

Zachary L.Rhines                zachary.rhines@oag.texas.gov 6/1/2023 4:49:57 PM   SENT
